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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11,              03 MDL 1570 (RCC)
2001                                                  ECF Case

                                                      RICO STATEMENT
                                                      Applicable to the Military Intelligence
                                                      (G-2) for the Kingdom of Saudi Arabia



This document relates to:          Estate of O’Neill, et al. v. Kingdom of Saudi Arabia, et al.
                                   04 CV 01922 (RCC)

                       RICO STATEMENT APPLICABLE
                TO THE MILITARY INTELLIGENCE (G-2) FOR THE
                        KINGDOM OF SAUDI ARABIA

       Based on information currently available, plaintiffs submit this RICO statement
pursuant to the Case Management Order dated June 15, 2004, and Judge Casey’s
individual rules, for the Intelligence Section (G-2) for the Kingdom of Saudi Arabia.

    Given the extraordinarily complex nature of the conspiracy and other wrongdoing
that led to the events of September 11, 2001, much information is presently unavailable
to plaintiffs, absent discovery. Plaintiffs therefore reserve the right to amend this RICO
statement as information is learned and verified through discovery and otherwise.

    1. The unlawful conduct is in violation of 18 U.S.C. §§ 1962(b), 1962(c) and/or (d).

    2. The names of the defendants, to whom this RICO statement pertains is the
       Intelligence Section (G-2) for the Kingdom of Saudi Arabia (the “G-2”). The
       alleged misconduct and basis for liability is set forth in Exhibit “A.”

    3. Not applicable. All known wrongdoers are named as defendants in this action, as
       well as the defendants in Estate of John P. O’Neill, Sr., et al. v. Al Baraka, et al.
       (SDNY 04-CV-1923 (RCC)) and Estate of John P. O’Neill, et al. v. the Republic
       of Iraq, et al. (SDNY 04-CV-1076 (RCC)), along with others. Plaintiffs will
       separately file RICO statements with respect to the misconduct of the other
       defendants. Given the vastly complicated nature of the conspiracy and other
       wrongdoing that led to the events of September 11, 2001, however, much
       information is unavailable to plaintiffs, and the identities of other wrongdoers
       may be revealed through discovery or otherwise. Plaintiffs therefore reserve the
       right to amend this RICO statement as information is learned and verified and
       after discovery or other information is obtained.


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    4. The name of each victim is indicated on the attached hereto as Exhibit “B.” The
       victims consist of (1) all spouses, children, parents, siblings, or heirs of any
       individual who died at the World Trade Center in New York, NY, the Pentagon
       Building in Arlington County, Virginia, or in the airliner crash in Shanksville,
       Pennsylvania, as the result of terrorist attacks on September 11, 2001 (with the events
       at the World Trade Center in New York, N.Y., the Pentagon Building in Arlington
       County, Virginia, and the airliner crash in Shanksville, Pennsylvania, on September
       11, 2001, and activities related thereto, collectively referred to herein as “Attack” or
       “Attacks”); and (2) all legal representatives (including executors, estate administrators
       and trustees) entitled to bring legal action on behalf of any individual who died as the
       result of terrorist attacks on September 11, 2001; but excluding (3) all individuals,
       and all spouses, children, parents, siblings, and legal representative of individuals
       identified by the Attorney General of the United States or otherwise shown to have
       perpetrated, aided and abetted, conspired in regard to, or otherwise supported the
       terrorist attacks of September 11, 2001. Exhibit “B” sets forth the names of the
       decedents killed by the attackers, with the category of “victims” further including
       their spouses, children, parents, siblings or heirs as set forth above.

         The manner in which the victims were injured consists of death, suffering caused by
         death, loss of and/or damage to tangible and intangible personal property, and all
         economic damages resulting from such deaths, and actions of the defendants and
         their co-conspirators as described herein.

    5.

             a. List of predicate acts and specific statutes violated:


                                                                        NY Penal § 105.15;
                        Conspiracy to commit murder
                                                                       NY Penal § 125.25 (xi)

                                                                         NY Penal § 105.15;
                         Conspiracy to commit arson
                                                                         NY Penal § 150.15

                    Fraud with Identification Documents                   18 U.S.C. § 1028

                                   Mail Fraud                             18 U.S.C. § 1341

                                   Wire Fraud                             18 U.S.C. § 1343

                          Financial Institution Fraud                     18 U.S.C. § 1344

                    Relating to Unlawful Procurement of
                                                                          18 U.S.C. § 1425
                    Citizenship or Naturalization Papers

                 Relating to the Unlawful Reproduction of
                                                                          18 U.S.C. § 1426
                   Naturalization or Citizenship Papers

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                  Relating to the Sale of Naturalization or
                                                                          18 U.S.C. § 1427
                             Citizenship Papers

                             Obstruction of Justice                       18 U.S.C. § 1503

                   Obstruction of a Criminal Investigation                18 U.S.C. § 1510

                      Obstruction of State or Local Law
                                                                          18 U.S.C. § 1511
                                Enforcement

                                   Travel Act                             18 U.S.C. § 1952

                 Fraud or Misuse of Visa Permits or Other
                                                                          18 U.S.C. § 1546
                               Documents

                       Illegal transactions in monetary
                                                                          18 U.S.C. § 1956
                                  instruments

                               Money laundering                           18 U.S.C. § 1957

                         Defrauding the United States                      18 U.S.C. § 371
                                Government
                                   Travel Act
                                                                          18 U.S.C. § 1952

                 Filing false or materially false tax returns          26 U.S.C. § 7206(1),(2)

                    Engaging in a corrupt endeavor to
                 impede and impair the due administration                26 U.S.C. § 7212(a)
                       of the internal revenue laws

                                                                            18 U.S.C. §
                                                                        2332(b)(g)(5)(B); 18
                  Providing material support of Terrorism                 U.S.C. § 2339A;
                                                                        18 U.S.C. § 2339B;
                                                                         18 U.S.C. § 2339C




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             b. Dates of, the participants in, and a description of the facts surrounding the
                predicate acts:



        DATES              PARTICIPANTS                            FACTS


        mid-1990s to       The Kingdom of Saudi Arabia             Throughout this period, the
        9/11/2001          (the “Kingdom”) and/or its              Kingdom, a monarchy, and/or its
                           Agencies, including the                 Agencies, specifically referring to the
                           Directorate of Intelligence, the        G-2 and/or its Agents, including so-
                           General Staff, Intelligence             called charities funded and controlled
                           Section (“G-2”), the Ministry           by the Kingdom and/or its Agencies,
                           of State for Internal Affairs,          conspired to support terrorism and to
                           the Ministry of Interior, the           obfuscate the roles of the various
                           Saudi Committee for Support             participants and conspirators in
                           of the Intifada, the Supreme            Radical Muslim Terrorism, and/or al
                           Council of Islamic Affairs, the         Qaida and/or the International
                           Council of Ministers, and the           Islamic Front for the Jihad Against
                           Special Committee of the                Jews and Crusaders, which
                           Council of Ministers                    conspiracy culminated in the Attack.
                           (collectively known as
                           “Agencies”), and/or its Agents,
                           including but not limited to
                           certain charities such as
                           Muslim World League, the
                           Internal Islamic Relief
                           Organization, the World
                           Assembly of Muslim Youth,
                           Al Haramain Islamic
                           Foundation, the Saudi High
                           Commission for Aid to Bosnia
                           and Herzegovina, the Rabita
                           Trust, the Saudi Red Crescent,
                           Saudi Joint Relief Committee,
                           the Benevolence Foundation,
                           and certain individuals
                           including but not limited to
                           Prince Abdullah Al Faisal bin
                           Abdulaziz Al Saud, Prince
                           Bandar bin Sultan bin
                           Abdulaziz Al Saud, Prince
                           Naif bin Abdulaziz Al Saud,
                           Prince Salman bin Abdul Aziz
                           Al Saud, Prince Sultan bin
                           Abdulaziz Al Saud, Prince

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                           Turki Al Faisal Al Saud, and
                           certain commercial entities
                           including but not limited to
                           National Commercial Bank
                           and Saudi American Bank, and
                           other actors who served as
                           agents of the Kingdom of
                           Saudi Arabia (these charities,
                           individuals, commercial
                           entities and other actors are
                           collectively referred to as
                           “Agents”)

        Late 1990s to      The Kingdom and/or its           The Kingdom, and/or its Agencies,
        9/11/2001          Agencies, specifically referring specifically referring to the G-2
                           to the G-2, and/or its Agents    and/or its Agents, including so-called
                                                            charities funded and controlled by the
                                                            Kingdom and/or its Agencies,
                                                            undertook actions constituting
                                                            racketeering as part of a conspiracy
                                                            to commit murder and arson, in that
                                                            they knew that the Enterprise in
                                                            which it was participating, Radical
                                                            Muslim Terrorism, and/or al Qaida
                                                            and/or the International Islamic Front
                                                            for the Jihad Against Jews and
                                                            Crusaders, planned to and would
                                                            commit an act of deadly aggression
                                                            against the United States in the near
                                                            future, using the resources and
                                                            support supplied by the Kingdom
                                                            and/or its Agencies, specifically
                                                            referring to the G-2, and/or its
                                                            Agents.


        Mid-1990s to       The Kingdom and/or its           The Kingdom, and/or its Agencies,
        9/11/2001          Agencies, specifically referring specifically referring to the G-2,
                           to the G-2, and/or its Agents    and/or its Agents agreed to form and
                                                            associate with the Enterprise and
                                                            agreed to commit more than two
                                                            predicate acts, i.e., multiple acts of
                                                            murder and arson, in furtherance of a
                                                            pattern of racketeering activity in
                                                            connection with the Enterprise.



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        Mid-1990’s         The Kingdom, directly and/or            The Kingdom, directly and/or
        to 9/11/2001       through its Agencies,                   through its Agencies, specifically
                           specifically referring to the G-        referring to the G-2, and/or Agents,
                           2, and/or its Agents                    agreed to form and associate
                                                                   themselves with the Enterprise and
                                                                   agreed to commit more than two
                                                                   predicate acts, in furtherance of a
                                                                   pattern of racketeering activity in
                                                                   connection with the Enterprise.

        Mid-199s to        The Kingdom, directly and/or            In violation of 18 U.S.C. § 1956, on
        9/11/2001          through its Agencies,                   multiple occasions the Kingdom,
                           specifically referring to the G-        directly and/or through its Agencies,
                           2, and/or its Agents                    specifically referring to the G-2,
                                                                   and/or Agents conspired to and did
                                                                   conduct financial transactions
                                                                   knowing that the property involved in
                                                                   those financial transactions
                                                                   represented the proceeds of previous
                                                                   instances of violations of 18 U.S.C. §
                                                                   1956, by moving or authorizing the
                                                                   movement of funds through a series
                                                                   of transactions involving the charities
                                                                   and/or for-profit corporations owned
                                                                   by or related to the Kingdom and/or
                                                                   its Agencies, specifically referring to
                                                                   the G-2, and/or its Agents.

        Mid-199s to        The Kingdom, directly and/or            In violation of 18 U.S.C. § 1957, on
        9/11/2001          through its Agencies,                   multiple occasions the Kingdom,
                           specifically referring to the G-        directly and/or through its Agencies,
                           2, and/or its Agents                    specifically referring to the G-2,
                                                                   and/or Agents, conspired to and did
                                                                   knowingly engage or attempt to
                                                                   engage in monetary transactions in
                                                                   criminally derived property that was
                                                                   of value greater than $10,000.

        Mid-1990s to       The Kingdom, through its         In violation of 18 U.S.C. § 371, the
        9/11/2001          Agencies, specifically referring Kingdom, through its Agencies,
                           to the G-2, and/or its Agents    specifically referring to the G-2,
                                                            and/or Agents, conspired to and did
                                                            defraud the United States
                                                            Government of taxes legally due.




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         Mid-1990s to      The Kingdom, through its         In violation of 26 U.S.C. § 7206(1),
         9/11/2001         Agencies, specifically referring (2), the Kingdom, through its
                           to the G-2, and/or its Agents    Agencies, specifically referring to the
                                                            G-2, and/or Agents, conspired to and
                                                            did file false or materially false tax
                                                            returns.

         Mid-1990s to      The Kingdom, through its         In violation of 26 U.S.C. § 7212(a),
         9/11/2001         Agencies, specifically referring the Kingdom, through its Agencies,
                           to the G-2, and/or its Agents    specifically referring to the G-2,
                                                            and/or Agents, conspired to or did
                                                            file false or materially false tax
                                                            returns, in furtherance of a corrupt
                                                            endeavor to impede and impair the
                                                            due administration of the internal
                                                            revenue laws.


             c. Not applicable.

             d. No.

             e. No.

             f. The predicate acts form a pattern of racketeering in that they are repeated,
                ongoing, continuous, and are a part of the Enterprise’s regular way of
                doing business. The Kingdom, through its Agencies, specifically referring
                to the G-2, and Agents consistently, evenly, constantly, laundered money,
                filed false tax returns, and otherwise impeded and impaired the
                administration of the tax laws as part of their scheme to conduit money to
                terrorists, and yet obfuscates their support of Radical Muslim Terrorism
                and/or al Qaida and/or the International Islamic Front for the Jihad
                Against Jews and Crusaders.

             g. The predicate act relates to each other (horizontal relatedness) as part of a
                common plan because each act of knowing and intentionally providing
                financial services and/or money laundering and/or tax evasion allowed
                certain of the defendants, specifically including the Kingdom , directly and
                through its Agencies, specifically referring to the G-2, and Agents, to
                surreptiously provide funds to terrorist organizations, including al Qaida,
                Radical Muslim Terrorism and/or the International Islamic Front for the
                Jihad Against Jews and Crusaders, which conspiracy culminated in the
                Attacks.

    6.

             a. The enterprise (“Radical Muslim Terrorism”) is comprised of the
                defendants named in the Complaint well as the defendants in Estate of
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                 John P. O’Neill, Sr., et al. v. Al Baraka, et al. (SDNY 04-CV-1923
                 (RCC)) and Estate of John P. O’Neill, et al. v. Iraq, et al. (SDNY 04-CV-
                 1076 (RCC)), and others, and is a collection of the persons, organizations,
                 businesses, and nations associated in fact.

                 Alternatively, the enterprise (“al Qaida”) is comprised of the defendants
                 named in the Complaint well as the defendants in Estate of John P.
                 O’Neill, Sr., et al. v. Kingdom of Al Baraka, et al. (SDNY 04-CV-1923
                 (RCC)) and Estate of John P. O’Neill, et al. v. Iraq, et al. (SDNY 04-CV-
                 1076 (RCC)), and others, and is a collection of the persons, organizations,
                 businesses, and nations associated in fact.

                 Alternatively, the enterprise (“International Islamic Front for the Jihad
                 Against Jews and Crusaders”) is comprised of the defendants named in the
                 First Amended Complaint well as the defendants in Estate of John P.
                 O’Neill, Sr., et al. v. Al Baraka, et al. (SDNY 04-CV-1923 (RCC)) and
                 Estate of John P. O’Neill, et al. v. Iraq, et al. (SDNY 04-CV-1076
                 (RCC)), and others, and is a collection of the persons, organizations,
                 businesses, and nations associated in fact.

             b. The Enterprise has its origins in the defeat of the Soviets in Afghanistan in
                the late 1980s, when Osama Bin Ladin (“Bin Ladin”) formed and
                organization called “The Foundation” or “al Qaida.” Al Qaida was
                intended to serve as a foundation upon which to build a global Islamic
                army. In February, 1998, a declaration was issued, following the holding
                of a terrorist summit, announcing the formation of the International
                Islamic Front for the Jihad Against Jews and Crusaders, the precursor of
                which was the Muslim Brotherhood and the Islamic Jihad. The structure
                of the Enterprise is an association in fact with common and complex goals
                that consist of far more than the mere desire to perpetrate the acts of
                racketeering outlined herein. Rather, the Enterprise utilizes acts of
                racketeering to further its overall common purposes of: (i) spreading a
                particularly virulent brand of radical, conservative Islam; (ii) eliminating
                Western influences in Islamic countries, including Western influences that
                are perceived to keep in power repressive Saudi-American regimes that
                are not true to Islam; and (iii) punishing Israel, and the United States for
                its perceived support of Israel. Radical Muslim Terrorism does not feature
                a centralized hierarchy, because the lack of a centralized hierarchy is
                essential to the Enterprise’s clandestine nature and its success. Thus,
                although al Qaida, for example, had its own membership roster and a
                structure of “committees” to guide and oversee such functions as training
                terrorists, proposing targets, financing operations, and issuing edicts, the
                committees were not a hierarchical chain of command but were instead a
                means for coordinating functions and providing material support to
                operations. The Kingdom, its Agencies, specifically referring to the G-2,
                and its Agents fit neatly into this framework by raising funds for and
                providing funding to an otherwise providing material support for the
                members of the Enterprise who engaged in the Attack.
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             c. No.

             d. The Kingdom, its Agencies, specifically referring to the G-2, and its
                Agents are associated with the alleged enterprise.

             e. The Kingdom, its Agencies, specifically referring to the G-2, and its
                Agents are members of the Enterprise, and are separate and distinct from
                the Enterprise.

             f. The Kingdom, its Agencies, specifically referring to the G-2, and its
                Agents intended to further the Attack and adopted the goal of furthering
                and/or facilitating that criminal endeavor, which criminal activity
                culminated in the Attack.

    7. The pattern of racketeering activity conducted by the Kingdom, its Agencies,
       specifically referring to the G-2, and its Agents are separate from the existence of
       Radical Muslim Terrorism, and/or the Al Qaida, and/or the International Islamic
       Front for the Jihad Against Jews and Crusaders, but were a necessary component
       to the Attack.

    8. The Enterprise conducts terrorism all over the world; the racketeering activity
       conducted by the Kingdom, its Agencies, specifically referring to the G-2, and its
       Agents funds that activity, which activity culminated in the Attack. The usual and
       daily activities of the Enterprise include recruitment, indoctrination, and the
       provisioning and operation of training camps, all of which activities are funded by
       the racketeering activities described herein.

    9. The Enterprise benefits by spreading its ideology, by suppressing other forms of
       Islam, and through the gratification of destroying its perceived enemies.

    10. The Enterprise, and the racketeering activities conducted by the Kingdom, its
        Agencies, specifically referring to the G-2, and its Agents, rely heavily on the
        American interstate system of commerce for banking, supplies, communications,
        and virtually all its essential commercial functions, and in that manner affects
        interstate commerce. The enterprise and the racketeering activities conducted,
        engaged in, and/or transacted business within and in the United States and
        elsewhere, and utilized, possessed, used, transferred, owned, leased, operated,
        and/or controlled assets in the United States and elsewhere.           Furthermore,
        activities and actions of the Enterprise affect interstate commerce as demonstrated
        by the Attack itself, which caused damage to the United States economy and
        property and businesses situate therein. See Rasul v. Bush, 124 S. Ct. 2686, No.
        03-334, 2004 U.S. LEXIS 4760, *8 (stating that the Attack “severely damaged the
        United States economy”).

    11. Not applicable.

    12. Not applicable to this defendant.


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    13.

             a. Radical Muslim Terrorism, and/or the al Qaida, and/or the International
                Islamic Front for the Jihad Against Jews and Crusaders “employs” certain
                individuals, only a few of whose identities are known, including defendant
                Osama Bin Ladin.

             b. The enterprise, Radical Muslim Terrorism, and/or al Qaida, and/or the
                International Islamic Front for the Jihad Against Jews and the Crusaders,
                is comprised of the defendants named in the Complaint well as the
                defendants in Estate of John P. O’Neill, Sr., et al. v. Al Baraka, et al.
                (SDNY 04-CV-1923 (RCC)) and Estate of John P. O’Neill, et al. v. Iraq,
                et al. (SDNY 04-CV-1076 (RCC)), among others, and is a collection of
                the persons, organizations, businesses, and nations associated in fact. The
                liable persons are the enterprise and that which makes up the enterprise.

    14. The history of the conspiracy behind Radical Muslim Terrorism, or the al Qaida,
        or the International Islamic Front for the Jihad Against Jews and Crusaders could,
        and has, filled many books, but for purposes of the present RICO Statement, the
        following is offered. After being turned out of the Sudan in May 1996, al Qaida
        established itself in Afghanistan, and relied on well-placed financial facilitators,
        including the Kingdom, its Agencies, specifically referring to the G-2, and its
        Agents, who laundered funds from Islamic so-called charities and corporations
        and raised money from witting and unwitting donors. They also relied heavily on
        certain imams at mosques who were willing to divert the Zakat, the mandatory
        charitable contributions required of all Muslims. Radical Muslim Terrorism,
        and/or al Qaida, and/or the International Islamic Front for the Jihad Against Jews
        and Crusaders also collected money from employees of corrupted charities. The
        money raised from these various sources (the “Funds”), including the Kingdom,
        its Agencies, specifically referring to the G-2, and its Agents, were used by the
        Enterprise to accomplish its goals, with the knowledge and awareness of the
        Kingdom, its Agencies, specifically referring to the G-2, and its Agents of both
        those goals and the uses to which the Funds were put.

          The Funds were used to organize and conduct a complex international terrorist
          operation intended to inflict catastrophic harm on the United States. The Funds
          enabled the Enterprise to identify, recruit, groom and train leaders who were able
          to evaluate, approve and supervise the planning and direction of the Enterprise.
          The Funds also provided communications sufficient system that gathered
          information on and formed assessments of the Enterprise’s enemies’ strengths and
          weaknesses.

          The Funds enabled the Enterprise to establish a personnel system by which,
          among other things, it recruited and trained persons to inflict the harm (the
          “Operatives”) and provided planning and direction to the Operatives. The funds
          thus raised were used to, among other things, operate terrorist training camps in
          Afghanistan, where some recruits were trained in conventional warfare but where
          the best and most zealous recruits received terrorist training. The curriculum in
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        the camps placed with great emphasis on ideological and religious indoctrination.
        All trainees and other personnel were encouraged to think creatively about ways
        to commit mass murder.

        The camps were able to operate only because of the worldwide network of
        recruiters, travel facilitators, and document forgers who vetted recruits and helped
        them get in and out of Afghanistan. From the ranks of these recruits the nineteen
        perpetrators of the Attack were selected. None of this would have been possible
        without the funds supplied by participants and conspirators like the Kingdom, its
        Agencies, specifically referring to the G-2, and its Agents. Indeed, the Enterprise
        would not have been successful without enthusiastic participation of all of the
        conspirators, including the Kingdom, its Agencies, specifically referring to the G-
        2, and its Agents. In order to identify nineteen individuals willing, able and
        competent to carry out the Attack, Radical Muslim Terrorism, and/or the al Qaida,
        and/or the International Islamic Front for the Jihad Against Jews and Crusaders
        needed to select from a vast pool of recruits and trainees, which pool would not
        have been available to it without the assistance provided by the Kingdom, its
        Agencies, specifically referring to the G-2, and its Agents. The Kingdom, its
        Agencies, specifically referring to the G-2, and its Agents, with knowledge and
        intent, agreed to the overall objectives of the conspiracy, and agreed to commit at
        least two predicate acts and all agreed to participate in the conspiracy, either
        expressly or impliedly. The Kingdom, its Agencies, specifically referring to the
        G-2, and its Agents also, with knowledge and intent, agreed to and did aid and
        abet all of the above illegal activities, RICO predicate acts, and RICO violations.

    15. The injuries to business or property suffered by the O’Neill Plaintiff’s resulting
        from the September 11th attack include economic damages, including but not
        limited, to pecuniary losses, past and future wage losses and profits, loss of
        business opportunities, loss of and/or damage to tangible and intangible personal
        property, loss of currency, loss of support, funeral and burial expenses, loss of
        prospective inheritance, and loss of other economic contributions to the
        Plaintiffs’/Decedents’ households.

    16. Plaintiffs’ damages – the loss of life and the damages to business and property
        related thereto that resulted from the actions of the defendants and their co-
        conspirators, are a direct causal relationship to the violation of the RICO statute,
        and are not a derivative claim of damage to a third party. The Plaintiffs, both
        named and as a class, as described in the complaint, as amended, were the
        “reasonably foreseeable victims of a RICO violation” and the “intended victims
        of the racketeering enterprise,” (that is, terrorism, the culmination of which was
        the Attack).

    17. Each defendant is jointly and severally liable for all damages sustained by each
        plaintiff, as set forth in Exhibit “B,” subject to the description of victims set forth
        in paragraph 4 hereof, for the loss of life, and the economic damages, including
        but not limited, to pecuniary losses, past and future wage losses and profits, loss
        of business opportunities, loss of and/or damage to tangible and intangible
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          personal property, loss of currency, loss of support, funeral and burial expenses,
          loss of prospective inheritance, and loss of other economic contributions to the
          Plaintiffs’/Decedents’ households. The damages for the plaintiffs’ collectively
          are to be determined at trial, and are in excess of $10,000,000,000.00 prior to
          trebling, punitive damages, interest, legal fees, and the costs of this suit.

    18.

                                                    Foreign Sovereign Immunities Act, 28
                         Count One
                                                               U.S.C. § 1605

                                                 Torture Victim Protection Act, 28 U.S.C. §
                         Count Two
                                                                   1350

                        Count Three                Alien Tort Claims Act 28 U.S.C. §1350

                                                    Anti-Terrorism Act, 18 U.S.C. § 2331,
                         Count Ten
                                                                2333, et. seq.

                                                     RICO, 18 U.S.C. § 1962(b),1962(c),
                       Count Eleven
                                                                 1962(d)

                                                        Foreign State Agencies and
                      Count Thirteen              Instrumentalities, 28 U.S.C.§ 1605(a)(7),
                                                                     1606


    19.
                        Count Four                               Wrongful Death

                         Count Five                                   Survival

                                                    Negligent and Intentional Infliction or
                         Count Six
                                                             Emotional Distress

                        Count Seven                                 Conspiracy

                        Count Eight                           Aiding and Abetting

                        Count Nine                                  Negligence

                       Count Twelve                             Punitive Damages


    20. Not applicable


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    Date: February 9, 2005

                                           LAW OFFICES OF JERRY S. GOLDMAN
                                                & ASSOCIATES, P.C.

                                           BY:________________________________
                                                 GINA M. MAC NEILL, ESQUIRE
                                                 (GM 0581)

                                           BY: _______________________________
                                                 JERRY S. GOLDMAN, ESQUIRE
                                                 (JG 8445)

                                                    Attorneys for the Plaintiffs
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                                                    New York, N.Y. 10006
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                                           EXHIBIT “A”

                                         RICO STATEMENT

                                             QUESTION # 2

 DEFENDANT                                  MISCONDUCT                                    BASIS OF
                                                                                         LIABILITY

The Intelligence        The G-2 is the Saudi Arabia armed forces/military
                                                                                         18 U.S.C. §§
Section (G-2) for      intelligence.
the Kingdom of                                                                              1962 (b),
Saudi Arabia             Saudi Intelligence has provided covert aid to various              1962(c),
                       factions in Lebanon and Syria as well as serves as the
                       channel for aid to Palestinian suicide bombers. There                1962(d)
                       is evidence which links Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders to
                       Intelligence officers in the Saudi regime.           In
                       particular, Saudi Intelligence has served as bin
                       Laden’s nexus to the Wahhabi charities, foundations
                       and other funding networks. It must be noted that
                       Wahhabism is a form of extreme, strict and
                       conservative Muslim belief, which many equate to
                       being a form of Radical Muslim religion.
                       Wahhabism is the primary religion within Saudi
                       Arabia.

                         The growth and development of Radical Muslim
                       terrorism, and/or the al Qaida, and/or the International
                       Islamic Front for the Jihad Against Jews and
                       Crusaders was made possible by the logistical,
                       financial and other support provided by Kingdom of
                       Saudi Arabia, specifically the G-2, and members of
                       its royal family.

                        The events of 9/11 were a direct and intended and
                       foreseeable result of Kingdom of Saudi Arabia’s,
                       specifically the G-2, participation.

                         Kingdom of Saudi Arabia, specifically the G-2,
                       controlled elements of Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders’
                       financial infrastructure, including the charities, knew
                       of the threats to the United States and did nothing to
                       stop them.
                         All activities of members of the royal family were
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                       done on behalf of or at the behest of the Kingdom,
                       specifically the G-2.




The Kingdom of           The Kingdom itself participated in the Enterprise
Saudi Arabia           by fraudulently issuing identification documents to               18 U.S.C. §§
                       various Operatives; through various acts of mail                     1962 (b),
                       fraud, wire fraud, and financial institution fraud; by
                       assisting Operatives with the procurement of false                   1962(c),
                       citizenship or naturalization papers; by obstructing                 1962(d)
                       justice, criminal investigations, and local law
                       enforcement efforts with respect to the activities of
                       the Operatives; and by fraudulently providing or
                       assisting in the procurement of visa permits and
                       other documents necessary to the Enterprise’s
                       nefarious intent.

                        In 1962, the Special Committee of the Council of
                       Ministers was established as a department of the
                       Saudi Government. This Special Committee of the
                       Council of Ministers is funded entirely from Saudi
                       government funds. The Special Committee decides
                       which “charities” to fund and provides grants to
                       selected entities.

                        Additionally, in 1994, Saudi Arabia issued a royal
                       decree banning the collection of money in the
                       Kingdom of Saudi Arabia for charitable causes
                       without official permission. As a result, the King
                       and the Prime Minister Fahd bin Abd al-Aziz Al
                       Saud (“King Fahd”) set up a Supreme Council of
                       Islamic Affairs, to centralize, supervise and review
                       aid requests from Islamic groups. The Supreme
                       Council was established to control charity financing
                       and distribution of donations to eligible Muslim
                       groups.

                        The 9/11 Commission report states that:

                            “The Kingdom is one of the world's most
                            religiously conservative societies, and its
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                            identity is closely bound to its religious
                            links, especially its position as the
                            guardian of Islam's two holiest cities.
                            Charitable giving, or zakat, is one of the
                            five pillars of Islam. It is broader and
                            more pervasive than Western ideas of
                            charity - functioning also as a form of
                            income, educational assistance, foreign
                            aid, and a source of political influence.
                            The Western notion of the separation of
                            civic and religious duty does not exist in
                            Islamic cultures.      Funding charitable
                            works is an integral function of the
                            governments in the Islamic world. It is so
                            ingrained in Islamic culture that in Saudi
                            Arabia, for example, a department within
                            the Saudi Ministry of Finance and
                            National Economy collects zakat directly,
                            much as the U.S. Internal Revenue
                            Service collects payroll withholding tax.
                            Closely tied to zakat is the dedication of
                            the government to propagating the Islamic
                            faith, particularly the Wahhabi sect that
                            flourishes in Saudi Arabia."

                        Addionally, the 9/11 Commission report states that
                       the “Saudi domestic charities (ex. Muslim World
                       League) are regulated by the Ministry of Labor and
                       Social Welfare, while the international charities and
                       relief agencies, such as the World Assembly of
                       Muslim Youth, are regulated by the Ministry of
                       Islamic Affairs.” (comment in parenthesis added).

                        The Saudi Arabian government thus had direct
                       supervision and control regarding the destination of
                       government charity funding and knew, or should
                       have know, that several entities which were funded
                       by Saudi Arabia financed the Radical Muslim
                       Terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders.

                         According to intelligence experts and officials of
                       the United States Government, Saudi Arabia has
                       channeled millions of dollars to Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
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                       and Crusaders. These funds are directed to Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders through various Saudi-based
                       "charities" which, as described above, are under the
                       Saudi Arabian government's effective control. Such
                       charities include, but are not limited to, the Muslim
                       World League, al-Haramain Islamic Foundation,
                       International Islamic Relief Organization (IIRO),
                       Benevolence International Foundation, Blessed
                       Relief (Muwafaq) Foundation, Rabita Trust, SAAR
                       Foundation, Safa Trust, International Institute for
                       Islamic Thought (niT), Sanabel Al Kheer, Inc. a/k/a
                       The Sanabel, Inc., and World Assembly of Muslim
                       Youth (WAMY).

                        The Director of IIRO in Canada and a full-time
                       employee of the Muslim World League, Arafat Al-
                       Asahi, confirmed the Saudi Government's control
                       over the Muslim World League and IIRO during
                       Canadian court proceedings, testifying as follows:

                                “Let me tell you one thing. The Muslim
                            World League, which is the mother of DRO,
                            is a fully government-funded organization.
                            In other words, I work for the Government of
                            Saudi Arabia. I am an employee of that
                            government. Second, the IIRO is a relief
                            branch of that organization which means we
                            are controlled in all our activities and plans
                            by the Government of Saudi Arabia. Keep
                            that in mind, please . . . I am paid by my
                            organization which is funded by the [Saudi]
                            Government. . . The [DRO] office, like any
                            other office in the world, here or in the
                            Muslim World League, has to abide by the
                            policy of the Government of Saudi Arabia. If
                            anybody deviates from that, he would be
                            fired; he would not work at all with IIRO or
                            with the Muslim World League.”

                        During a July 31, 2003 hearing before the Senate
                       Committee on Governmental Affairs regarding
                       terrorism financing, Dr. Dore Gold, the former
                       Israeli Ambassador to the United Nations, similarly
                       confirmed the Saudi Government's control over
                       several Saudi-based "charities" responsible for
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                       funding Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders, stating as
                       follows:


                            “It would be incorrect to view these
                            charities as purely non-governmental
                            organizations . . . . [A]t the apex of each
                            organization's board is a top Saudi
                            official. The Saudi Grand Mufti, who is
                            also a Saudi Cabinet Member, chairs the
                            Constituent Council of the Muslim World
                            League. The Saudi Minister of Islamic
                            Affairs chairs the Secretariat of the World
                            Assembly of Muslim Youth and the
                            Administrative Council of Al-Haramain.
                            All three organizations have received large
                            charitable contributions from the Saudi
                            Royal Family that have been detailed in
                            Saudi periodicals.

                        In a separate report, U.S. intelligence reports
                       revealed that Saudi officials began supporting
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders and Osama bin Laden in
                       1996.

                        According to a briefing presented July 10, 2002 to
                       the Defense Policy Board, a group of prominent
                       intellectuals and former senior officials that advises
                       the Department of Defense on policy, "The Saudis
                       are active at every level of the terror chain, from
                       planners to financiers, from cadre to foot-soldier,
                       from ideologist to cheerleader."

                        In October 2001, NATO forces raided the Saudi
                       High Commission for Aid to Bosnia, founded by
                       Prince Selman bin Abd al-Aziz and supported by
                       King Fahd. Among the items found at the Saudi
                       charity were before and after photographs of the
                       World Trade Center, U.S. embassies in Kenya and
                       Tanzania, and the U.S.S. Cole; materials for forging
                       U.S. State Department badges; files on the use of
                       crop duster aircraft; and anti-Semitic and anti-

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                       American material geared toward children. An
                       employee of the Saudi High Commission for Aid to
                       Bosnia is incarcerated at Guantanamo Bay's Camp
                       X-Ray for plotting an attack on the U.S. embassy in
                       Sarajevo. Authorities are attempting to track down
                       $41 million, which are missing from the
                       commission's operating funds.

                         Despite its express awareness, for several years
                       prior to September 11, 2001, that Saudi "charities"
                       were funneling contribution to Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders and other terrorist causes, Saudi
                       Arabia continued to donate enormous sums of
                       money to those organizations. Defendant Saudi
                       Arabia knew, or should have known, that Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders and affiliated foreign terrorist
                       organizations, persons, organizations, commercial
                       entities and other parties would materially benefit
                       from those contributions, and use the funds received
                       from those "charities" to finance terrorist attacks
                       against the United States, its nationals and allies.

                        Despite its express awareness, for several years
                       prior to September 11, 2001 that Saudi "charities"
                       were funneling contributions to Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders and other terrorist causes, Saudi failed
                       to take appropriate and necessary steps to regulate
                       those "charities" and otherwise prevent them from
                       continuing to finance terrorism, in violation of its
                       obligations under United Nations Security Council
                       Resolutions 49/60, 1269, 133, and 1363. In this
                       regard, an Independent Task Force sponsored by the
                       Council on Foreign Relations to investigate the
                       sources of Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders funding concluded
                       as follows:

                            “[I]t is worth stating clearly and
                            unambiguously  what   official U.S.

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                            Government spokespersons have not: For
                            years, individuals and charities based in
                            Saudi Arabia have been the most important
                            source of funds for al Qaida; and for years,
                            Saudi officials have turned a blind eye to
                            this problem.”

                        Defendant Saudi Arabia knew, or should have
                       known, that Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders and affiliated
                       terrorist organizations, persons, organizations,
                       commercial entities, and other parties would
                       materially benefit from Saudi Arabia's failure to take
                       appropriate and necessary steps to regulate the
                       "charities" which were funneling contributions to
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders and otherwise prevent
                       those "charities" from continuing to finance
                       terrorism.

                        Defendant Saudi Arabia has long provided material
                       support and resources to a variety of foreign terrorist
                       organizations which are affiliated with Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders, including, but not limited to,
                       Hezbollah, Palestine Islamic Jihad, HAMAS,
                       Tulkarm Charity Committee, the Islamic Society, and
                       Egyptian Islamic Jihad. By virtue of its affiliation
                       with other foreign terrorist organizations sponsored
                       by Saudi Arabia, Radical Muslim terrorism, and/or
                       the al Qaida, and/or the International Islamic Front
                       for the Jihad Against Jews and Crusaders has
                       materially benefited from Saudi Arabia's sponsorship
                       of those other terrorist organizations.

                        Defendant Saudi Arabia knew, or should have
                       known, that Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders would materially
                       benefit from its sponsorship of other foreign terrorist
                       organizations, and that Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders
                       would employ the technical, logistical and financial

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                       resources    obtained      from     foreign  terrorist
                       organizations to commit terrorist attacks against the
                       United States, its nationals and allies.

                        Saudi Arabia acted through its officials, officers,
                       agents, employees, agencies and instrumentalities in
                       providing material support and resources to Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders and Osama bin Laden. The
                       support provided by Saudi Arabia to Osama bin
                       Laden and Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders assisted in and
                       contributed to the preparation and execution of the
                       plans that culminated in the attacks of September 11th
                       and the extrajudicial killing of the Decedents.

                        The Saudi Committee for Support of the Intifada,
                       the Supreme Council of Islamic Affairs, the
                       Supreme Council of Islamic Affairs, the Council of
                       Ministers, the Special Committee of the Council of
                       Ministers, the Directorate of Intelligence, the
                       General Staff, the Intelligence Section (G-2), the
                       Ministry of State for Internal Affairs, and the
                       Ministry of Interior have participated in providing
                       such material support and resources to Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders.

                         The growth and development of Radical Muslim
                       terrorism, and/or the al Qaida, and/or the International
                       Islamic Front for the Jihad Against Jews and
                       Crusaders was made possible by the logistical,
                       financial and other support provided by Kingdom of
                       Saudi Arabia and members of its royal family.

                        The events of 9/11 were a direct and intended and
                       foreseeable result of Kingdom of Saudi Arabia’s
                       participation.

                        Kingdom of Saudi Arabia controlled elements of
                       Radical Muslim terrorism, and/or the al Qaida, and/or
                       the International Islamic Front for the Jihad Against
                       Jews and Crusaders’ financial infrastructure,
                       including the charities, knew of the threats to the
                       United States and did nothing to stop them.
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                        All activities of members of the royal family were
                       done on behalf of or at the behest of the Kingdom.


The Kingdom,            The Kingdom’s Agent NCB has been implicated in
through its Agent      many corrupt practices, including the manipulation                18 U.S.C. §§
National               of financial markets, arms trafficking and                           1962 (b),
Commercial             sponsorship of international terrorism, including
Bank (“NCB”)           handling the finances of Abu Nidal and his terrorist                 1962(c),
                       organization. Moreover, NCB has served as one of                     1962(d)
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders’ preferred banks for
                       many years, maintaining accounts for many of the
                       charity defendants that operate within Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ infrastructure, including the
                       International Islamic Relief Organization, the
                       Muslim World League, the World Association of
                       Muslim Youth, the Benevolence International
                       Foundation, Blessed Relief (Muwafaq) Foundation
                       and al Haramain, among others. Under the
                       supervision of Suleiman Abdul Aziz al-Rajhi, NCB
                       also managed the budget of the Saudi Joint Relief
                       Committee, another so-called charity that provided
                       funding to the Enterprise.         NCB knowingly
                       facilitates Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders’ fundraising by
                       advertising the existence and numerical designations
                       of the accounts it maintains for Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ cooperating charities
                       throughout the Muslim world, so that Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders supporters can deposit funds
                       directly into those accounts for the benefit of
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders and its cells throughout
                       the world. During the 1990s, NCB channeled in
                       excess of $74 million to Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic

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                       Front for the Jihad Against Jews and Crusaders
                       through    the    International     Islamic    Relief
                       Organization, and also transferred significant
                       funding to Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders through Blessed
                       Relief Foundation accounts it maintained.


The Kingdom,        The Saudi American Bank has long provided
through its Agent financial services and other forms of material                         18 U.S.C. §§
the Saudi         support to terrorist organizations, including Radical                     1962 (b),
American Bank     Muslim terrorism, and/or the al Qaida, and/or the
                  International Islamic Front for the Jihad Against                         1962(c),
                  Jews and Crusaders. The Saudi American Bank is a                          1962(d)
                  financial institution headquartered in Riyadh, Saudi
                  Arabia. The Saudi American Bank was established
                  by royal decree in 1980. The Saudi American Bank
                  financed many of the projects undertaken by Osama
                  bin Laden and Radical Muslim terrorism, and/or the
                  al Qaida, and/or the International Islamic Front for
                  the Jihad Against Jews and Crusaders in the Sudan
                  during the years that the Radical Muslim terrorism,
                  and/or the al Qaida, and/or the International Islamic
                  Front for the Jihad Against Jews and Crusaders
                  leadership structure operated from that country,
                  including the construction of major roads and the
                  Port of Sudan airport.

                        Defendants Saudi Bin Laden Group and Mohamed
                       Bin Laden Organization provided technical
                       assistance on these projects. Further, from 1996
                       through 2001, the Saudi American Bank funneled
                       money to and/or from the Spanish Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders cell.


The Kingdom,       The Saudi High Commission has long acted as a
through its Agent fully integrated component of Radical Muslim                           18 U.S.C. §§
the Saudi High    terrorism, and/or the al Qaida, and/or the                                1962 (b),
Commission        International Islamic Front for the Jihad Against
                  Jews and Crusaders’ logistical and financial support                      1962(c),
                  infrastructure, and provided material support and                         1962(d)
                  resources to Radical Muslim terrorism, and/or the al
                  Qaida, and/or the International Islamic Front for the
                                                 - 23 -
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                       Jihad Against Jews and Crusaders and affiliated
                       Foreign Terrorist Organizations. The Financial
                       Police of the Federation of Bosnia Herzegovina
                       Ministry of Finance described the Saudi High
                       Commission as a front for radical and terrorism-
                       related activities. The Saudi High Commission
                       worked closely with and largely funded Taibah
                       International, which has been directly implicated in
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders operations outside of
                       Bosnia, including the 1998 United States Embassy
                       bombings in Kenya and Tanzania. Between 1992
                       and 2002, the Saudi High Commission funneled
                       millions of dollars to Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders
                       operations in Bosnia alone. The Saudi High
                       Commission caused and/or allowed phony relief
                       workers to use its name as “cover” when they
                       traveled, to infiltrate sensitive areas. Approximately
                       $41 million donated to the Saudi High Commission
                       remains unaccounted for.


The Kingdom,            The MWL is among the world’s largest Islamic
through its Agent      charitable organizations, with offices in more than               18 U.S.C. §§
the Muslim             thirty countries. The MWL serves as an umbrella                      1962 (b),
World League           organization for a number of other Islamic charities,
(the “MWL”)            commonly referred to as bodies or members of the                     1962(c),
                       League, including the IIRO, the World Assembly of                    1962(d)
                       Muslim Youth, al Haramain & al Aqsa Mosque
                       Foundation, Benevolence International Foundation
                       and the Rabita Trust.

                        The MWL has long operated as a fully integrated
                       component of Radical Muslim terrorism, and/or the
                       al Qaida, and/or the International Islamic Front for
                       the Jihad Against Jews and Crusaders’ financial and
                       logistical infrastructure, and provided material
                       support and resources to Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders and
                       affiliated FTOs. The MWL has provided substantial
                       material support and resources to Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
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                       Jews and Crusaders through its subsidiary bodies,
                       including the IIRO, the World Association of
                       Muslim Youth, the Rabita Trust, and Benevolence
                       International Foundation.

                        The Director of IIRO in Canada and a full-time
                       employee of the Muslim World League, Arafat Al-
                       Asahi, confirmed the Saudi Government's control
                       over the Muslim World League and IIRO during
                       Canadian court proceedings, testifying as follows:

                            “Let me tell you one thing. The Muslim
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                            organization. In other words, I work for
                            the Government of Saudi Arabia. I am an
                            employee of that government. Second, the
                            IIRO is a relief branch of that organization
                            which means we are controlled in all our
                            activities and plans by the Government of
                            Saudi Arabia. Keep that in mind, please
                            . . . I am paid by my organization which is
                            funded by the [Saudi] Government. . . The
                            [DRO] office, like any other office in the
                            world, here or in the Muslim World
                            League, has to abide by the policy of the
                            Government of Saudi Arabia. If anybody
                            deviates from that, he would be fired; he
                            would not work at all with IIRO or with
                            the Muslim World League.”

                        The Muslim World League's policies are established
                       by its Constitutive Council, which is chaired by the
                       Grand Mufti of Saudi Arabia. The Muslim World
                       League's annual budget is funded by an annual grant
                       from the Saudi government.


The Kingdom,            The IIRO is a subsidiary body of the MWL, with
through its Agent      offices throughout the globe. According to MWL                    18 U.S.C. §§
International          officials, the MWL provides “humanitarian                            1962 (b),
Islamic Relief         assistance” through the arms of the IIRO. In reality,
Organization (the      the IIRO is one of the charities operating within                    1962(c),
“IIRO”)                Radical Muslim terrorism, and/or the al Qaida,                       1962(d)
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders’ support infrastructure,
                       and the IIRO has long operated as a fully integrated
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                       component of Radical Muslim terrorism, and/or the
                       al Qaida, and/or the International Islamic Front for
                       the Jihad Against Jews and Crusaders’ logistical and
                       financial support infrastructure, and provided
                       material support and resources to Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders and affiliated foreign terrorist
                       organizations. According to the recently declassified
                       1996 CIA report regarding the involvement of
                       Islamic charities in the sponsorship of terrorism, the
                       IIRO funded six al Qaida training camps in
                       Afghanistan, including camps from which Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders planned, approved and
                       coordinated the Attack, and at which some or all of
                       the September 11 hijackers received indoctrination
                       and training. Moreover, forty to fifty percent of the
                       IIRO’s charitable funds were used to finance
                       terrorist training camps in Afghanistan and Kashmir.


The Kingdom,        The Rabita Trust is a subsidiary body of the MWL,
through its Agent with headquarters in Lahore, Pakistan and offices                      18 U.S.C. §§
the Rabita Trust  throughout the world. The Rabita Trust was                                1962 (b),
                  designated by President Bush as an organization that
                  provided logistical and financial support to Radical                      1962(c),
                  Muslim terrorism, and/or the al Qaida, and/or the                         1962(d)
                  International Islamic Front for the Jihad Against
                  Jews and Crusaders. The Rabita Trust was led by
                  defendant Wa-el Hamza Julaidan, a founder of
                  Radical Muslim terrorism, and/or the al Qaida,
                  and/or the International Islamic Front for the Jihad
                  Against Jews and Crusaders. The Rabita Trust has,
                  for a period of many years and in diverse regions
                  throughout the world, provided critical financial and
                  logistical support to Radical Muslim terrorism,
                  and/or the al Qaida, and/or the International Islamic
                  Front for the Jihad Against Jews and Crusaders in
                  relation to that terrorist organization’s global jihad,
                  knowing that such support would result in an attack
                  like the one that occurred on September 11, 2001.



The Kingdom,            BIF is an agency, instrumentality and organ of the

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through its Agent      Kingdom of Saudi Arabia. The Kingdom controls                     18 U.S.C. §§
the Benevolence        and directs BIF operations, appoints and terminates                  1962 (b),
International          BIF personnel, provides BIF with virtually all of its
Foundation (the        funding, determines how funds will be distributed                    1962(c),
“BIF”)                 throughout the World, and otherwise stringently                      1962(d)
                       controls BIF’s operations. In many countries, BIF
                       conducts operations from the local Saudi Embassy,
                       under the supervision of the embassy’s Islamic
                       Affairs Division.

                        BIF is an apparent charity, with offices located
                       throughout the world, and is a subsidiary body of the
                       Muslim World League, and has frequently shared
                       common officers and directors with that
                       organization.

                        BIF has long acted as a fully integrated component
                       of Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders’ logistical and financial
                       support infrastructure, and provided material support
                       and resources to Radical Muslim terrorism, and/or
                       the al Qaida, and/or the International Islamic Front
                       for the Jihad Against Jews and Crusaders and
                       affiliated foreign terrorist organizations, with the full
                       knowledge of and intent that its support give rise to
                       an attack on the United States like that which
                       occurred on September 11th, 2001. On November
                       19,2002, BIF was designated as a supporter and
                       associate of terrorists by the U.S. government,
                       pursuant to Executive Order 13224, based on its
                       material support and sponsorship of, or affiliation
                       with, defendant Radical Muslim terrorism, and/or
                       the al Qaida, and/or the International Islamic Front
                       for the Jihad Against Jews and Crusaders and/or
                       affiliated     foreign       terrorist    organizations,
                       associations, organizations or persons.

                        Enaam Arnaout, BIF’s chief executive officer and a
                       member of the Board of Directors, pled guilty to
                       racketeering conspiracy, in violation of Section
                       1962(d); conspiracy to provide material support to
                       persons, organizations and groups engaged in violent
                       activities, in violation of 18 U.S.C. § 371;
                       conspiracy to launder proceeds of unlawful activity,
                       in violation of 18 U.S.C. § 1956(h); money
                       laundering, in violation of 18 U.S.C. § 1956; and
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                       mail and wire fraud, in violation of 18 U.S.C. §§
                       1341 and 1343. On January 6, 2003, federal
                       prosecutors filed a proffer in the criminal
                       prosecution of Enaam Arnaout which details at
                       length the pervasive involvement, and material
                       support of BIF, and of its executives and employees,
                       in sponsoring Radical Muslim terrorism, and/or the
                       al Qaida, and/or the International Islamic Front for
                       the Jihad Against Jews and Crusaders’ global
                       operations. This support included purchasing large
                       quantities    of    weapons,       operating     radio
                       communications, providing physical assets and false
                       travel documents to Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders
                       fighters, and sponsoring Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders
                       camps throughout the World.

                        BIF played a pivotal role in Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ efforts to establish operations
                       in Bosnia. BIF provided food, clothing, money and
                       communications’ equipment to Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders affiliated fighters. BIF also
                       facilitated the movement of           Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders fighters into the region by
                       falsely representing to authorities that those terrorists
                       would be working as BIF relief workers. In March
                       2002, Basonian police raided BIF’s Sarajevo offices
                       and recovered extensive documentation relating to
                       the Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders operations, including
                       contributions of various individuals and charities to
                       the terrorist organizations development and
                       expansion.

                        BIF also played an equally important role in the
                       infrastructure supporting the  Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
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                       International Islamic Front for the Jihad Against
                       Jews and Crusaders in Chechnya. BIF provided
                       material support to Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders
                       fighters supporting Chechnya mujihadeen by
                       supplying military informs, financing, and anti-mine
                       boots.

                        BIF worked closely with several other purported
                       charities, including the World Assembly of Muslim
                       Youth, Muslim World League, International Islamic
                       Relief Organization, and Al Haramain Foundation,
                       in connection with its efforts to sponsor Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ activities.

                        BIF used the U.S. financial system, mainly through
                       BIF’s US operation, extensively to launder money
                       for Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders and support its terrorist
                       operations throughout the world. Further, BIF
                       substantially understated the amount of funds it
                       received in its 2000 tax returns, and did not attribute
                       a substantial portion of the funds to a known source.


The Kingdom,            WAMY is a subsidiary body of the MWL, with
through its Agent      more than sixty offices throughout the world.                     18 U.S.C. §§
the World              WAMY has long acted as a fully integrated                            1962 (b),
Assembly of            component of Radical Muslim terrorism, and/or the
Muslim Youth           al Qaida, and/or the International Islamic Front for                 1962(c),
(“WAMY”)               the Jihad Against Jews and Crusaders’s financial and                 1962(d)
                       logistical infrastructure, and provided material
                       support and resources to Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders and
                       affiliated foreign terrorist organizations. Among
                       other things, WAMY has served as a distribution
                       channel for training documentation between the
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders leadership in
                       Afghanistan and operational cells throughout the
                       world.
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                        The World Assembly of Muslim Youth ("WAMY")
                       was established by Royal Decree in 1972 and
                       receives direct support from the Saudi government.
                       WAMY is governed by a General Assembly and
                       President who is appointed by the Saudi government.


The Kingdom,             The SRC has long acted as a fully integrated
through its            component of Radical Muslim terrorism, and/or the                 18 U.S.C. §§
Agent, the Saudi       al Qaida, and/or the International Islamic Front for                 1962 (b),
Red Crescent           the Jihad Against Jews and Crusaders’ logistical and
(the “SRC”)            financial support infrastructure, and provided                       1962(c),
                       material support and resources to Radical Muslim                     1962(d)
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders and affiliated foreign terrorist
                       organizations.


The Kingdom,             Al Haramain has long acted as a fully integrated
through its            component of Radical Muslim terrorism, and/or the                 18 U.S.C. §§
Agent, the al          al Qaida, and/or the International Islamic Front for                 1962 (b),
Haramain               the Jihad Against Jews and Crusaders’ logistical and
Foundation (“al        financial support infrastructure, and provided                       1962(c),
Haramain”)             material support and resources to Radical Muslim                     1962(d)
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders and affiliated foreign terrorist
                       organizations. Indeed, as a result of AHF's pervasive
                       sponsorship of Radical Muslim terrorism, and/or the
                       al Qaida, and/or the International Islamic Front for
                       the Jihad Against Jews and Crusaders, the United
                       States has designated every al Haramain branch
                       office, including the headquarters in Saudi Arabia, a
                       Foreign Terrorist Organization pursuant to Executive
                       Order 13224. After consistently denying for many
                       years Al Haramain’s involvement in sponsoring
                       terrorism, the Kingdom finally acknowledged
                       reality, and bowed to international pressure and
                       dissolved the organization on June 2, 2004.

                        Prior to its dissolution, Al Haramain was one of the
                       principle Islamic non-governmental organizations
                       that provided support for the Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against

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                       Jews and Crusaders network and promoted its
                       militant Islamic doctrine worldwide. Also prior to its
                       dissolution, Al Haramain raised almost $30 million a
                       year in donations and had an annual budget of $80
                       million. According to its website, it had active
                       branches in about fifty countries. Al Haramain
                       provided funding to terrorist organizations
                       designated by the United States, including but not
                       limited to Jemmah Islammiya, Al-Ittihad Al-
                       Islamiya, Egyptian Islamic Jihad, HAMAS and
                       Lashkar E-Taibah, and also permitted those
                       organizations to use Al Haramain as a front for
                       fundraising and operational activities.


The Kingdom,             Prince Abdullah has made significant personal
through its Agent      contributions to Saudi-based charities that he knew               18 U.S.C. §§
Prince Abdullah        to be sponsors of Radical Muslim terrorism, and/or                   1962 (b),
Al Faisal bin          the al Qaida, and/or the International Islamic Front
Abdulaziz Al           for the Jihad Against Jews and Crusaders’ global                     1962(c),
Saud (“Prince          operations, knowing and intending that those                         1962(d)
Abdullah”)             contributions would be used to fund Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ global operations and acts of
                       terror. Further, Prince Abdullah engaged in
                       transactions    with      Mushayt     for    Trading
                       establishment, the funding mechanism for the
                       Spanish Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders cell. Still further,
                       Muhammed Galeb Klaje Zouaydi, who founded the
                       network of companies which served as a vehicle for
                       financing Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders’ activities in
                       Europe, served for many years as Prince Abdullah’s
                       accountant. During the period of time that Mushayt
                       for Trading was laundering money for the Spanish
                       cell, Prince Abdullah and Zouaydi maintained a
                       business partnership. Thus, through his official and
                       personal acts, Prince Abdullah has provided critical
                       financial and logistical support to Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders for a period of many years,
                       knowing and intending that this support would be
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                       used to fund Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders’ global operations
                       and acts of terror, the foreseeable culmination of
                       which was the Attack.


The Kingdom,            In his capacity as Ambassador to the United States,
through its Agent      Prince Bandar has directed millions of dollars in                 18 U.S.C. §§
Prince Bandar          embassy funds and of his personal wealth to                          1962 (b),
bin Sultan bin         charities operating within         Radical Muslim
Abdulaziz al           terrorism, and/or the al Qaida, and/or the                           1962(c),
Saud (“Prince          International Islamic Front for the Jihad Against                    1962(d)
Bandar”)               Jews and Crusaders’ infrastructure, thereby
                       providing critical financial and logistical support to
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders for a period of many
                       years, knowing and intending that those
                       contributions would be used to fund Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ global operations and acts of
                       terror, the foreseeable culmination of which was the
                       Attack.


The Kingdom,            In his capacity as Minister of Interior, Prince Naif
through its Agent      has been, for many years, responsible for the                     18 U.S.C. §§
Prince Naif bin        oversight of charities based within Saudi Arabia.                    1962 (b),
Abdulaziz Al           Under Prince Naif’s direction, the Saudi Joint Relief
Saud (“Prince          Commission diverted $74 million to            Radical                1962(c),
Naif”)                 Muslim terrorism, and/or the al Qaida, and/or the                    1962(d)
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders members and loyalists. Through
                       the Saudi Committee for Relief to Afghans, Prince
                       Naif has channeled substantial financial and
                       logistical support to sustain      Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ presence and operations in
                       Afghanistan. Further, Prince Naif has used his
                       position as Minister of the Interior to protect
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders’ support infrastructure.
                       Remarkably, Prince Naif publicly denied Radical
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                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ responsibility for the Attack.
                       Further, Prince Naif has also made large personal
                       contributions to Saudi-based charities for the
                       purpose supporting terrorism, with the knowledge
                       and intent the contributions he made would be used
                       to fund Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders’ global operations
                       and acts of international terrorism. Thus, Prince
                       Naif has provided critical financial and logistical
                       support to Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders for a period of
                       many years, knowing and intending that those
                       contributions would be used to fund Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ global operations and acts of
                       terror, the foreseeable culmination of which was the
                       Attack.


The Kingdom,            In his capacity as founder of the Saudi High
through its Agent      Commission, Prince Salman has long provided                       18 U.S.C. §§
Prince Salman          material support and resources to Radical Muslim                     1962 (b),
bin Abdul Aziz         terrorism, and/or the al Qaida, and/or the
Al Saud (“Prince       International Islamic Front for the Jihad Against                    1962(c),
Salman”)               Jews and Crusaders, has donated substantial funds to                 1962(d)
                       several other charities that operate within Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ infrastructure, and has been
                       instrumental in raising funds for these charities from
                       third parties. Prince Salman knew and intended that
                       the contributions he made to, and funds he raised on
                       behalf of, these charities would be used to fund
                       Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders’ global operations and
                       acts of international terrorism. Prince Salman thus
                       has provided critical financial and logistical support
                       to Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders for a period of many
                       years, knowing and intending that those
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                       contributions would be used to fund Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against
                       Jews and Crusaders’ global operations and acts of
                       terror, the foreseeable culmination of which was the
                       Attack.


The Kingdom,             In his capacity as the Chairman of the Supreme
Through its            Council for Islamic Affairs, established by King Fahd             18 U.S.C. §§
Agent Prince           in 1994 to oversee and control charitable                            1962 (b),
Sultan bin             organizations with operations within the Kingdom of
Abdulaziz Al           Saudi Arabia, Prince Sultan has known, for a period                  1962(c),
Saud (“Prince          of many years, which Saudi-based charities were                      1962(d)
Sultan)                providing material support and resources to Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders. Rather than intervening to stem the
                       flow of money and support from the charities to
                       Radical Muslim terrorism, and/or the al Qaida, and/or
                       the International Islamic Front for the Jihad Against
                       Jews and Crusaders, Prince Sultan has used his
                       authority as Chairman of the Supreme Council to
                       facilitate and ensure the continuing sponsorship of
                       Radical Muslim terrorism, and/or the al Qaida, and/or
                       the International Islamic Front for the Jihad Against
                       Jews and Crusaders by those charities. In addition,
                       Prince Sultan provided substantial funding, in both
                       his official and private capacities, to several charities
                       deeply involved in the sponsorship of Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders’ global operations Prince Sultan knew
                       and intended that the contributions he made to these
                       charities would be used to fund Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders’ global operations and acts of
                       international terrorism, but has nonetheless provided
                       critical financial and logistical support to Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders for a period of many years, knowing
                       and intending that those contributions would be used
                       to fund Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders’ global operations
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                       and acts of terror, the foreseeable culmination of
                       which was the Attack.

                        Prince Sultan further made substantial contributions
                       to certain charities which sponsored or supported
                       Radical Muslim terrorism, and/or the al Qaida, and/or
                       the International Islamic Front for the Jihad Against
                       Jews and Crusaders, including, without limitation,
                       IIRO, Al Haramain, Muslim World League and
                       WAMY.

                        Prince Sultan directly aided and abetted and
                       materially sponsored Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders and
                       Islamic terrorism, through these contributions and
                       supervised the charities, or, in the alternative, was
                       grossly negligent in supervising the charities,
                       knowing they would be used to sponsor terrorism.

                         Prince Sultan has been Minister of Defense and
                       Aviation, Chairman of the Supreme Council of
                       Islamic Affairs, Second Deputy Prime Minister of the
                       Council of Ministers, and, on information and belief,
                       is the Third highest ranking member of the Saudi
                       Government, and a brother of the King.


The Kingdom,            During Prince Turki’s tenure as head of Saudi
through its Agent      Arabia’s general intelligence service, the Istakhbarat,           18 U.S.C. §§
Prince Turki Al        between 1977 and 2001, the Istakhbarat provided                      1962 (b),
Faisal Al Saud         massive financial aid and material support to the
(“Prince Turki”)       Taliban. At the time, Radical Muslim terrorism,                      1962(c),
                       and/or the al Qaida, and/or the International Islamic                1962(d)
                       Front for the Jihad Against Jews and Crusaders and
                       the Taliban maintained a symbiotic and mutually
                       supportive relationship. Prince Turki knew and
                       intended that the support provided to the Taliban by
                       the Kingdom of Saudi Arabia under his direction
                       would materially benefit Radical Muslim terrorism,
                       and/or the al Qaida, and/or the International Islamic
                       Front for the Jihad Against Jews and Crusaders, by
                       virtue of the close relationship and near identity
                       between the two organizations. Additionally, Prince
                       Turki made significant personal contributions to
                       Saudi-based charities that he knew to be sponsors of
                       Radical Muslim terrorism, and/or the al Qaida, and/or
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                       the International Islamic Front for the Jihad Against
                       Jews and Crusaders’ global operations, and
                       coordinated the sponsorship of Radical Muslim
                       terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders by several wealthy members of Saudi
                       society, knowing that all such contributions would be
                       used to fund Radical Muslim terrorism, and/or the al
                       Qaida, and/or the International Islamic Front for the
                       Jihad Against Jews and Crusaders’ global operations
                       and acts of international terrorism, knowing and
                       intending that those contributions would be used to
                       fund Radical Muslim terrorism, and/or the al Qaida,
                       and/or the International Islamic Front for the Jihad
                       Against Jews and Crusaders’ global operations and
                       acts of terror, the foreseeable culmination of which
                       was the Attack.

                        Prince Turki was aware of the terrorist threat
                       originating from Osama Bin Laden and Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders.

                        Prince Turki met several times with Osama Bin
                       Laden and or Osama Bin Laden’s representatives on
                       behalf of the Saudi Government and offered not to
                       extradite him and otherwise provide him and Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders with support, in exchange for
                       protection.

                        Prince Turki facilitated money transfers from
                       wealthy Saudi’s to Radical Muslim terrorism, and/or
                       the al Qaida, and/or the International Islamic Front
                       for the Jihad Against Jews and Crusaders and the
                       Taliban.

                        Prince Turki made contributions to charities he
                       knew were sponsors or affiliated with Radical
                       Muslim terrorism, and/or the al Qaida, and/or the
                       International Islamic Front for the Jihad Against Jews
                       and Crusaders.




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